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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                           Crim. No. 19-CR-00018 (ABJ)
              v.

 ROGER STONE,

                   Defendant.


                     GOVERNMENT’S RESPONSE TO MINUTE ORDER
                      REGARDING JURY SELECTION PROCEDURE

       The United States of America, by and through Jessie K. Liu, United States Attorney for

the District of Columbia, hereby submits this response to the Court’s Minute Order dated August

13, 2019.

       The government does not object to the pre-screening of potential jurors being summoned

to complete the questionnaire by the District Court Jury Office based on the potential jurors’

availability for a trial that could take at least two weeks to complete.

                                                       Respectfully submitted,

                                                       JESSIE K. LIU
                                                       U.S. Attorney for the District of Columbia

                                                  By: /s/
                                                      Jonathan Kravis
                                                      Michael J. Marando
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August 22, 2019


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